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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

LARRY COLLINS,                         :      Civil No. 3:12-CV-2244
                                       :
      Plaintiff                        :      (Judge Kosik)
                                       :
v.                                     :      (Magistrate Judge Carlson)
                                       :
B.A. BLEDSOE, et al.,                  :
                                       :
      Defendants                       :

                  MEMORANDUM OPINION AND ORDER

I.    INTRODUCTION

      This is a civil action brought by Larry Collins, an inmate in the custody of the

Federal Bureau of Prisons, currently incarcerated in the Special Management Unit

(SMU) at the United States Penitentiary, Lewisburg (USP-Lewisburg). Collins

initiated this Bivens1 action on November 9, 2012, asserting a number of

constitutional claims arising out of incidents alleged to have occurred at USP-

Lewisburg between May 3, 2011, and May 5, 2011. Collins brought claims against

14 staff members at USP-Lewisburg, alleging that they used excessive force against

him and were deliberately indifferent to his health and safety during the course of a



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       Bivens v. Six Unknown Named Agents of Federal Bureau of Narcotics,
403 U.S. 388 (1971).
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use of force while removing from a bus, during a forced cell move, and through the

use of ambulatory restraints. Collins also claims that the defendants falsified restraint

check forms, medical records, and incident reports relating to these alleged events.

(Doc. 1, Compl.) On September 30, 2014, the Court dismissed Collins’s claims for

specific monetary damages and declaratory relief, as well as claims he had brought

for verbal harassment, conspiracy, and filing false reports to cover up alleged

constitutional violations, as well as claims for money damages brought with respect

to Incident Report No. 2158647. (Doc. 71.) What remains in this case are Collins’s

claims for excessive force, unlawful conditions of confinement, and denial of medical

care.

        Now pending before the Court is Collins’s motion to compel the defendants to

produce additional responses to discovery requests that he propounded.              The

defendants have responded to these requests, by producing some documents and

materials that are responsive, some of which have been redacted for privacy or

security concerns; and in some cases, objecting to the requests as irrelevant, overly

broad, or otherwise infringing upon valid penological interests. Asserting that their

production in response to Collins’s requests has been adequate and in accordance

with the Federal Rules of Civil Procedure, and that their objections to certain aspects

of Collins’s requests are justified, the defendants oppose the motion.

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      Collins filed a brief in support of his motion, and another brief purportedly to

oppose the defendants’ brief responding to the motion to compel. However, in his

briefs, Collins fails to respond in any persuasive fashion to the defendants’ assertions

regarding the adequacy of their production or the merits of their objections to further

disclosure. Instead, he has stated a general objection to the defendants’ invocation

of privilege, but has otherwise merely restated his discovery requests, and demanded

further responses.

      For the following reasons, upon consideration of Collins’s requests, the

production made in response, and the tailored and discrete objections lodged, we find

that the motion to compel must be denied in most respects. Out of an abundance of

caution, we will direct the defendants to undertake a further review of their records

to determine whether potentially responsive documents to a properly narrowed

request may be identified, as we explain further below.

II.   BACKGROUND

      Collins has served numerous discovery requests upon the defendants, and as

the documents attached to the parties’ attest, the defendants have responded with

responses and objections. On January 16, 2015, Collins filed a motion to compel

further production based on his attempts to resolve objections that he sent to the

defendants’ counsel on or around January 2, 2015. (Doc. 91.) In the motion, Collins

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seeks entry of an order compelling discovery from defendants Hudson, Fleming, R.

Johnson, T. Johnson, R. Casilla, C. Lytle, G. Gaston, S. Prutzman and K. Gemberling.

(Id.) In the motion, Collins simply restates the requests that Collins had submitted

to the defendants, and does not explain what about the defendant’s objections Collins

believes is improper. Indeed, Collins’s brief does not actually identify or even

discuss the specific requests that he provided to the defendants. (Doc. 92.) Instead,

he offers a very general and, as it turns out, inaccurate claim that the defendants had

objected to further production on the basis of privilege. (Id.)

      Collins’s letter to defendants’ counsel is marginally more helpful. In it, he

complains that some of the materials that he was provided were not sufficiently

responsive to his requests, and he complains that some of the materials were redacted,

although it is not clear why he believes the redaction is problematic. He further

attempts to clarify some of his requests. (Doc. 91, at 8.) In all other respects, the

letter recasts Collins’s requests that were propounded previously, but fails to explain

why the responses were insufficient. Collins also did not attempt to narrow or limit

the scope of his requests.




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       In his subsequent motion and brief, (Doc. 108.), Collins focuses on

interrogatories that he sent seeking responses from defendant Hicks.2 This motion is

also filled largely with generalities, and the defendants have responded in order to

explain the answers that were provided in response to the questions posed in the

interrogatories, and to explain why no further responses are possible. (Doc. 111.)

III.   DISCUSSION

       Rule 26(b)(1) of the Federal Rules of Civil Procedure defines both the scope

and limitations governing the use of discovery in a federal civil action:

             (1) Scope in General. Unless otherwise limited by court
             order, the scope of discovery is as follows: Parties may
             obtain discovery regarding any nonprivileged matter that
             is relevant to any party’s claim or defense – including the
             existence, description, nature, custody, condition, and
             location of any documents or other tangible things and the
             identity and location of persons who know of any
             discoverable matter. For good cause, the court may order
             discovery of any matter relevant to the subject matter
             involved in the action. Relevant information need not be
             admissible at trial if the discovery appears reasonably
             calculated to lead to the discovery of admissible evidence.
             All discovery is subject to the limitations imposed by Rule
             26(b)(2)(c).




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         The Court construed Hicks’s second motion to compel further responses
to interrogatories issued to defendant Hicks as a combined motion to compel and
brief in support, and we consider it together with Collins’s prior motion to compel
the defendants to produce additional documents. (Doc. 91.)
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Fed. R. Civ. P. 26(b)(1). Collins’s motion, and the defendants’ response in

opposition to this motion, call upon the Court to exercise its authority under Rule 26

of the Federal Rules of Civil procedure to regulate discovery in this case. Issues

relating to the scope of discovery permitted under the Rules rest in the sound

discretion of the Court. Wisniewski v. Johns-Manville Corp., 812 F.2d 81, 90 (3d

Cir. 1987). A court’s decisions regarding the conduct of discovery will be disturbed

only upon a showing of an abuse of discretion. Marroquin-Manriquez v. I.N.S., 699

F.2d 129, 134 (3d Cir. 1983).

      This discretion is guided, however, by certain basic principles. Thus, at the

outset, it is clear that Rule 26's broad definition of that which can be obtained through

discovery reaches only “nonprivileged matter that is relevant to any party’s claim or

defense”. Therefore, valid claims of privilege still cabin and restrict the Court’s

discretion in ruling on discovery issues. Furthermore, the scope of discovery

permitted by Rule 26 embraces all “relevant information,” a concept which is defined

in the following terms: “Relevant information need not be admissible at trial if the

discovery appears reasonably calculated to lead to the discovery of admissible

evidence.”




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      Applying these benchmark standards, we now turn to the motion before the

Court, and the discovery requests to which it relates, beginning with the document

requests.

      A.     Document Requests

      Collins has requested “A copy of the Z-Block Log Book at USP Lewisburg

recorded on May 3rd and 4th, 2011.” (Doc. 103, Ex. 1, Def. Hudson’s Resps. and

Objs. to Pl.’s First Request for Production of Documents at 3.) These documents

were produced. (Id., at 3, Attach A (Bates Nos. DEF-00001 to DEF-000012).) There

appears to be nothing further to produce, and Collins has not explained how this

response was in any was deficient. In his second request, Collins seeks “A copy of

D-Block Log Book at USP Lewisburg record on May 4, 2011.” This document was

also produced. (Id., at 3, Attach. B (Bates Nos. DEF-00013 to DEF-000018).) These

two documents were redacted in order to safeguard the privacy rights of other inmates

at USP-Lewisburg, and Collins has not explained how this redaction is improper, and

we do not find it to have been.

      Collins also seems to be attempting to amend his discovery request through

subsequent letters to the defendants’ counsel. (Doc. 91, at 8.) Thus, Collins stated

that he was seeking production of log books with staff signatures so he could

determine which staff members entered the units in question. The defendants

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provided Collins with the staff roster, which identified all staff members who had

been assigned to the cell blocks on May 3 and May 4, 2011. (Doc. 103, Ex. 1 at 3,

Attach C (Bates Nos. DEF-000019 to DEF-000034).) The defendants also provided

Collins with documents called “Unit Sign-in Logs” for both D- and Z-Blocks for May

1, 2011 through May 7, 2011. (Id., Ex. 2, Supp. Discovery Resp. (Bates Nos. DEF-

000261 to DEF-000266).)

      In Collins’s third request, he sought, any and all documents showing who was

on duty in D-Block at 8:00 a.m. until 4:00 p.m. at USP Lewisburg on May 4, 2011.

(Doc. 103, Ex.1, at 3.) The fourth request seeks the same information for Z-Block on

May 3 and May 4, 2011. (Id., at 4.) In response the defendants produced the Daily

Assignment Roster for USP-Lewisburg for each of these consecutive days. (Id.,

Attach. C (Bates Nos. DEF-00019 to DEF-000034).) The defendants redacted each

of the rosters to reveal only the names of those staff members who were assigned to

D- and Z-Blocks, where Collins was confined, since the defendants maintain that the

identities of all other staff at the prison on those dates would be irrelevant to his

claims even under the broad relevance standard prescribed by Rule 26, and because

to provide such unlimited information Collins would present security concerns. We

find nothing improper about the defendants’ production of these documents, or in the

tailored manner in which they were limited.

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      Collins also complains that the defendants failed to respond sufficiently with

respect to document requests relating to defendant Fleming, who has since retired

from the Bureau of Prisons. In the plaintiff’s first request to this defendant, he asked

for any and all instructions, notes reports, memoranda, and internal communications

concerning plaintiff’s ability or inability to walk prior to and including the dates of

May 3rd and 4th of 2011. (Doc. 103, Ex. 3, at 3.) The defendants objected to the

request on the grounds of relevance, vagueness, and overbreadth, but responded

nevertheless to provide medical records that were readily available through the BOP’s

computerized system of medical records, and notified Collins that the response would

be supplemented if paper medical records were obtained. The defendants also

objected to the production of records from before December 6, 2006, on the grounds

that records from before this point were so far removed as to be irrelevant to the

claims in this case. (Id., Attach A (Bates Nos. DEF-000110-000173).)

      Collins next requested production of “Any and all instructions, notes, reports,

memoranda, and internal communications concerning plaintiff’s being a violent

prisoner against staff starting with the date he was brought into the Federal Bureau

of Prisons back in 1977 to May 3, 2011 and May 4, 2011.” The defendants objected

to this request, again on grounds of relevance, vagueness and overbreadth, but

nevertheless produced over 80 pages of materials relevant to this response pertaining

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to Collins’s history as a violent inmate. (Doc. 103, Ex. 3, Attach. B (Bates Nos. DEF-

000174 to DEF-000260).)

      In his letter to defendants’ counsel, Collins sought to clarify these requests,

stating that he wished to know the information that may have been provided

specifically to defendant Fleming concerning his inability to walk, and his history of

violence as an inmate in the federal prison system, during the relevant time periods

he identified. (Doc. 91, at 8.) The defendants have responded by noting that all of

the information that is in the custody of the BOP is contained within Collins’s Central

File, to which defendant Fleming would have had access during his employment,

although it is difficult if not impossible to know which, if any, documents Fleming

may have actually examined during that time. Thus, having clarified the documents,

their location, and the fact that Fleming would have had access to them, the

defendants have not produced additional materials in response to the requests, and

have represented that they are unable to do so.

      In all other respects, Collins’s letter to counsel simply restates his requests with

regard to those requests directed specifically to Fleming. (Doc. 91, at 2, 9.) In this

regard, Collins seeks entry of an order compelling Fleming to produce:

      c.     Any and all documents, grievances, complaints received by defendant

             B.A. Bledsoe or his agents at USP Lewisburg concerning the

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             mistreatment of inmates by defendant Fleming, and any memoranda,

             investigative files, or other documents created in response to such

             complaints since January 1, 2005. (Request No. 3 to Fleming.)

      d.     Any and all reports, notes, grievances, complaints, or other documents

             relating to the death of an inmate at USP Lewisburg, be it suicide or

             otherwise, where defendant Fleming was directly involved or his named

             was mentioned during his tenure at USP Lewisburg and entire

             employment with the Federal Bureau of Prisons. (Request No. 4 to

             Fleming.)

      e.     Any and all reports, documents notes of the number of “forced cell

             moves” made by defendant Fleming during his tenure at USP

             Lewisburg. (Request No. 5 to Fleming.)

      Although Collins suggests that the defendants objected on the basis of

privilege, this is incorrect. The defendants instead objected to the nature, scope and

relevance of the requests. (Doc. 103, Ex. 3, at 4-5.) With respect to Request No. 3,

which concerned complaints that may have been directed to Warden Bledsoe

regarding Fleming’s alleged mistreatment of inmates between January 2005 and May

5, 2011, the defendants objected by asserting that the request was overly broad and

unduly burdensome. The defendants also asserted that thousands of grievances are

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filed annually, and it would accordingly be burdensome or impossible to search all

of them for a particular staff member. (Id.) We agree with this, but nevertheless find

that a narrower request could potentially be relevant, and could be undertaken without

undue burden.

      In some circumstances inmates may be entitled to discover information of

similar past practices or alleged conduct, or that is calculated to show a habit or

routine on the part of corrections defendants, see, e.g., Frails v. City of New York,

236 F.R.D. 116, 117-18 (E.D.N.Y. 2006) (collecting cases). However, we are also

mindful that, as the Court in Frails recognized, “[u]nsubstantiated allegations of

misconduct that are unrelated to the claims raised in this case are not relevant to

plaintiff’s [ ] claim.” Id. at 118. To date, the defendants have not opposed Collins’s

request on relevancy grounds, but have instead merely claimed without sufficient

explanation that it would be impossible to identify any potentially responsive

materials within their possession. Mindful that discovery of the type requested in

Request No. 3 may potentially be relevant to the plaintiff’s claims in this case, and

out of an abundance of caution, the Court will direct the defendants to undertake a

narrower review of BOP records to determine whether there exist documents

indicating any agency finding of actual misconduct on Fleming’s part.




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      We agree with the defendants, and with the court in Frails, that mere

unsubstantiated allegations of misconduct have no relevance to Collins’s claims.

However, if Fleming’s employee file contains any actual findings of misconduct that

could come within the scope of Collins’s discovery request, those documents could

be relevant and might be subject to production. Accordingly, the defendants shall be

directed to undertake a review of BOP records to determine whether any documents

in Fleming’s employee file indicate an actual finding of misconduct on his part, and

any potentially responsive documents identified through this review shall be provided

to the Court in camera within 30 days from the date of this decision so that a

determination may be made about whether they should be produced to Collins.

      Regarding Request No. 4, which concerned documents relating in any way to

any inmate death at USP-Lewisburg where Fleming’s name was mentioned or in

which he was “directly involved,” the defendants asserted that the request was not

relevant to Collins’s claims and, in any event, would be extremely burdensome to

answer since defendant Fleming worked in a variety of BOP institutions over a 20-

year career. We agree with the defendants, particularly regarding the lack of apparent

relevance to Collins’s own claims. We cannot perceive how seeking documents

bearing defendant Fleming’s name relating in some way to other inmate deaths within

USP-Lewisburg or other BOP facilities is relevant to the remaining claims in this

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case, and find no basis to compel further response to this request, or to put the

defendants to the burden of attempting to identify whether any such documents exist

given the lack of relevancy to this case. Moreover, we have already directed that the

defendants undertake review of Fleming’s file for documents evidencing actual

findings of misconduct, if any, which would likely encompass any potentially

responsive and relevant documents relating to this request.

      Finally, the defendants objected to Request No. 5, which seeks information

regarding the number of forced cell moves that defendant Fleming made during this

time as an officer at USP-Lewisburg. The defendants cast the request as vague and

overly broad, and maintained that it would be unduly burdensome to respond,

apparently because to determine whether Fleming had participated in every forced

cell move would necessitate review of more than 1,000 reportable incidents, which

itself may also insufficiently state Fleming’s involvement in other, unreported

matters. We agree that mere information regarding forced cell moves in which

Fleming may have had involvement during his tenure at USP-Lewisburg is overly

broad and has little apparent relevance that would justify requiring defendants’

counsel to undertake such a review. Moreover, as we previously noted, mere

allegations of misconduct regarding defendant Fleming or any other defendant would

not have sufficient relevance to the claims in this case that would justify ordering

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production. Instead, the Court expects that any documents that are potentially

responsive to this request, and appropriately narrowed, would be uncovered during

the search we will order to determine whether Fleming’s employee file contains

findings of actual misconduct on his part.

      Collins has also propounded discovery requests on defendants R. Johnson and

T. Johnson seeking, without any limitation, discovery materials pertaining to all two-

hour restraint checks, and concerning all grievances or complaints that have been

made by inmates regarding these defendants’ alleged mistreatment of them during

their entire employment with the BOP. (Doc. 91, at 2-3, 9.) The defendants objected

that the requests were irrelevant, vague, and burdensome because the requests were

not limited temporally, and were not designed to obtain potentially relevant

information with respect to Collins’s remaining claims. (Doc. 103, Ex. 4, Defs’ Objs.

to Pl.’s First Request for Production of Documents to Defs. R. Johnson and T.

Johnson.) Collins has undertaken no effort to narrow his claims. However,

consistent with the manner in which we narrowed the discovery requests propounded

upon defendant Fleming, we will direct the defendants to undertake a review of BOP

records to determine whether any documents exist that indicate any actual findings

of misconduct on the part of either defendant R. Johnson or T. Johnson, and to submit

these results to the Court for in camera inspection within 30 days.

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      Next Collins has sought to compel defendants Casilla, Lytle and Gaston to

provide “[a]ny and all FIFTEEN MINUTE RESTRAINT CHECK documents” written

by any of these defendants during their “tenure at USP Lewisburg and entire

employment with the BOP,” as well as “any and all grievances, complaints, or other

documents created by the mistreatment of inmates” during the defendants’

employment. (Doc. 103, Ex. 5, Defs.’ Objs. to Pl.’s First Request for Production of

Documents to Defs. R. Casilla, C. Lytle and B. Gaston.) The defendants objected that

the document request is unreasonably overbroad and is not designed to obtain

relevant evidence. Collins has taken no steps to clarify or narrow this request, and

we find no basis to compel further response, particularly in light of Collins’s failure

to address the defects that are manifest in this overly broad request.

      Collins also seeks an order compelling defendants Prutzman and Gemberling

to produce grievances or other documents relating to the mistreatment of inmates, or

to the death of inmates, that name either defendant between January 1, 2005, to May

5, 2011. (Doc. 91, at 4-5.) The defendants objected to the request on the grounds that

it is overbroad, and burdensome. However, the defendants also affirmatively

represented to Collins that neither defendant Gemberling nor Prutzman have

sustained any misconduct findings concerning their treatment of inmates. Given this

representation, and because we find no basis to compel the defendants to produce any

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grievances or other complaints from inmates that are nothing more than allegations

or assertions in other contexts, we find there is no need to compel further response

or further efforts to discover potentially responsive documents.

      B.     Interrogatories

      In addition to the document requests discussed above, Collins has also moved

for entry of an order compelling defendant Hicks to respond more fully to a first set

of interrogatories that Collins propounded. (Doc. 108.) Collins specifically seeks to

be provided with more information concerning the order that led to him being moved

to a different cell on May 4, 2011, and to be placed in ambulatory restraints. (Doc.

108, at 5.) Although Collins restates his interrogatories and Hicks’s answers and

objections to them, Collins does not explain why the answers or objections were

improper or inadequate.

      Thus, in Interrogatory No. 1, Collins asked defendant Hicks to “Name the

higher ranking person who ordered you to move the plaintiff from Z-Block to D-

Block on May 4, 2011.” (Doc. 111, Ex. 1, Def. Hicks’s Ans. and Obj. to Pl’s. First

Set of Interrogatories, at 3.) Defendant Hicks responded that he lacked sufficient

knowledge or information to answer, because he could not remember the name of the

officer who have him the order. Collins has not challenged this response in any

meaningful way, and we find no basis to compel defendant Hicks to do anything more

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than he has done by answering the question to state that he lacks knowledge of who

gave the order.

         Interrogatory No. 2 asked, “At what time on May 4, 2011, did the higher-

ranking official order you to make the move?” (Id., at 3.) Hicks objected to the

interrogatory on the basis of relevance, but stated that it would have been before 1:40

p.m., which was the time indicated on Incident Report No. 2158647. Hicks lacked

personal recall of the exact time, and thus provided an answer that appears to have

been informed by a written incident report that was prepared shortly after the incident

in question. We find no reason to require further response than the one Hicks has

given.

         In Interrogatory No. 3, Collins asks in an inquiring manner, “Why was the cell

move so important?” (Id., at 4.) It is difficult to perceive how Hicks should have

answered this question in any event, but he nevertheless informed Collins that he

lacked sufficient personal knowledge since he could not remember if he was given

a reason for the move, and he represented that it was unlikely he would have been

given a reason. There is no basis to compel further response.

         Interrogatory No. 4 asks, “If the cell move had not been made, would the

plaintiff remaining in the cell he was in and the unit he was in on May 4, 2011 been

a threat to security, prison staff or any other inmates?” (Id.) Hicks responded that he

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lacked knowledge to answer, which is entirely consistent with Hicks’s representation

that he did not even know the reason for the cell move in the first place. There is

nothing further that is required with respect to this interrogatory.

      Interrogatory No. 5 asks, “If there was an existing threat before the plaintiff

was approached and told he was going to be moved to D-Block, then explain exactly

what that threat consisted of on the date of May 4, 2011.” (Id.) Again, Hicks has

represented that he lacks personal knowledge to answer this question, and since he

did not know the reason for the cell move, it is hardly surprising that Hicks could not

provide a more detailed answer to this specific question.

      Finally, in Interrogatory No. 6, Collins asked, “Did you take it upon yourself

to move the plaintiff on May 4, 2011 without any higher-ranking authorization?”

(Id., at 5.) Defendant Hicks answered, “No.” (Id.) Again, we find no reason to

compel a further answer here, since Hicks’s answer is complete and responsive.

      As noted, Collins has taken no steps to clarify or explain what about defendant

Hicks’s answers he found problematic or lacking. Collins may be dissatisfied with

Hicks’s answers, but he has made no showing to suggest that the answers were

untruthful or that they omitted information of which Hicks knew. There is simply no

substance to Collins’s motion, and there is nothing to be gained by compelling Hicks

to provide any further answers than those he has given to date, which essentially

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represented that he lacked sufficient personal knowledge to answer the questions that

Collins had posed. Even if there were any basis for the Court to grant Collins’s

motion – and we find none – an order granting the motion would not cause Hicks’s

answers to change, as he has stated in his brief. According, the motion to compel

defendant Hicks to provide more fulsome answers to interrogatories will be denied.

IV.   ORDER

      Accordingly, for the foregoing reasons, the plaintiff’s motions to compel

further responses to document requests (Doc. 91.) is GRANTED in part and DENIED

in part. The defendants shall undertake further review of BOP records to determine

whether any potentially responsive documents exist that indicate actual findings of

misconduct on the part of defendant Fleming, R. Johnson, or T. Johnson relating to

the treatment of inmates. If any such documents exist, the defendants shall provide

them to the Court in camera within 30 days of the date of this order so that a

determination can be made as to whether they should be produced in whole or in part

to Collins. In all other respects, the motion is DENIED.

      In addition, Collins’s motion to compel defendant Hicks to provide further

answers to interrogatories (Doc. 108.) is DENIED in its entirety.

                                       /s/ Martin C. Carlson
                                       Martin C. Carlson
                                       United States Magistrate Judge

Dated: October 7, 2015


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